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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION AT ASHLAND


CIVIL ACTION NO. 17-cv-126-HRW

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                        ORDER

VIOLA CLARK, et al.                                                              DEFENDANTS


       This matter is before the Court upon the reports of the Warning Order Attorney, Jeremy

L. Clark [DEs 10 and 11] and it appearing the Warning Order Attorney has satisfactorily

completed the requisite duties, and the Court being sufficiently advised,

       IT IS ORDERED HEREIN AS FOLLOWS:

      The Warning Order Attorney has attempted to notify the Defendants, James P. Creech and

the Unknown Spouse of James P. Creech, and has been able to give actual notice of the nature

and pendency of this action. Attorney Clark has reported to the Court that there is no known

claim or defense available to said defendant; and therefore,

     Jeremy L. Clark is now relieved of further duties as Warning Order Attorney and is awarded

a fee in the amount of$375.00 to be paid by the U.S. Department of Justice to the following:

                          Hon. Jeremy L. Clark
                          P.O. Box 532
                          Catlettsburg, KY 41129

       This   3rd   day of April, 2018.                        Signed By:
                                                               Henry R. Wilhoit. Jr.
                                                               United States Dlatrlct Judge
